Case 8:17-cv-01386-DOC-KES Document 30 Filed 11/20/17 Page 1 of 16 Page ID #:924
                     8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
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  1                       UNITED STATES DISTRICT COURT

  2                      CENTRAL DISTRICT OF CALIFORNIA

  3               HONORABLE DAVID O. CARTER, JUDGE PRESIDING

  4                                 - - - - - - -

  5    BILLIE RENE FRANCES LILLIAN        )
       POWERS,                            )
  6                                       )     CERTIFIED
                 Plaintiff,               )
  7                                       )
             vs.                          ) No. 8:17-CV-1397-DOC
  8                                       )     Item No. 3
       THE BANK OF NEW YORK MELLON, et    )
  9    al,                                )
                                          )
 10              Defendants.              )
       ___________________________________)
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 14                  REPORTER'S TRANSCRIPT OF PROCEEDINGS

 15                      Hearing on Application for TRO

 16                            Santa Ana, California

 17                        Thursday, November 2, 2017

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 22    Debbie Gale, CSR 9472, RPR, CCRR
       Federal Official Court Reporter
 23    United States District Court
       411 West 4th Street, Room 1-053
 24    Santa Ana, California 92701
       (714) 558-8141
 25


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Case 8:17-cv-01386-DOC-KES Document 30 Filed 11/20/17 Page 2 of 16 Page ID #:925
                     8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
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  1    APPEARANCES OF COUNSEL:

  2
       FOR PLAINTIFF BILLIE RENE FRANCES LILLIAN POWERS:
  3
             Richard William Snyder
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             Tustin, California 92780
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  8

  9    FOR DEFENDANT THE BANK OF NEW YORK MELLON, ET AL.:

 10          Steven M. Dailey
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 11          5 Park Plaza
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 12          Irvine, California 92614
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 16    ALSO PRESENT:

 17        Billie Rene Frances Lillian Powers, plaintiff

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Case 8:17-cv-01386-DOC-KES Document 30 Filed 11/20/17 Page 3 of 16 Page ID #:926
                     8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
                                                                        3


  1                                  I N D E X

  2    PROCEEDINGS                                               PAGE

  3    Appearances                                                  4

  4    Argument by Mr. Dailey                                       5

  5    Inquiry by the Court                                         6

  6    Ruling of the Court                                         14

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        Case 8:17-cv-01386-DOC-KES Document 30 Filed 11/20/17 Page 4 of 16 Page ID #:927
                             8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
                                                                                 4


          1            SANTA ANA, CALIFORNIA, THURSDAY, NOVEMBER 2, 2017

          2                                 Item No. 3

          3                                 (9:01 a.m.)

          4                THE COURT:    Billie Powers v. The Bank of New York

          5    Mellon.

09:01     6                                 APPEARANCES

09:01     7                MR. SNYDER:    Good morning, Your Honor.      Richard

          8    Snyder on behalf of the plaintiff.

09:01     9                PLAINTIFF POWERS:     Good morning, Your Honor.

         10    Billie Rene Frances Lillian Powers.        Thank you for your

         11    time.

09:01    12                THE COURT:    You're the plaintiff.

09:01    13                PLAINTIFF POWERS:     Yes, Your Honor.

09:01    14                THE COURT:    Okay.   Thank you.

09:01    15                And the Bank?

09:01    16                MR. DAILEY:    Good morning, Your Honor.      Steve

         17    Dailey of Kutak Rock, here on behalf of Defendant Select

         18    Portfolio --

09:02    19                THE COURT:    All right.    Thank you.

09:02    20                How would you like to proceed today, Counsel?

         21    Would you like to call a witness?        Present any additional

         22    evidence?    I've read the documentation.       I'm at your

         23    disposal.

09:02    24                MR. SNYDER:    Well, Your Honor, um, the -- I think

         25    everything's pretty well detailed in the -- in the moving


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                             8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
                                                                                5


          1    papers.

09:02     2                THE COURT:    All right.

09:02     3                MR. SNYDER:    You know, the --

09:02     4                THE COURT:    Well, I'm asking you now:      How would

          5    you like to proceed?      I've read the documents, but I'm

          6    not -- there's no chilling effect if you'd like to present

          7    evidence today on either party's part.

09:02     8                If you would like to -- you'd like to submit on

          9    the papers, I just need to know that.

09:02    10                MR. SNYDER:    Um, I think we'd like to submit on

         11    the papers, Your Honor.

09:02    12                THE COURT:    Okay.

09:02    13                Counsel, how would you like to proceed today?

09:02    14                MR. DAILEY:    I'd like to be heard, Your Honor.

09:02    15                THE COURT:    Okay.   Please.

09:02    16                Now, Counsel, we're gonna move quickly now.         I

         17    wanna hear your argument.

09:02    18                          ARGUMENT BY MR. DAILEY

09:02    19                MR. DAILEY:    So, Your Honor, the first thing I

         20    wanna say is there's no basis for exigent relief.           There's

         21    no emergency.     We only received a day's notice or couple

         22    day's notice of this, and we really didn't have time to put

         23    together a comprehensive opposition.

09:03    24                THE COURT:    Well, the most concerning thing are

         25    the allegations of fraud, of course.        That strikes to the


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                             8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
                                                                                6


          1    heart of the process, and I don't know if those are true or

          2    not.

09:03     3                But what ramifications do we have?        They're here

          4    on a TRO to stop, I believe, a sale?

09:03     5                MR. DAILEY:    Well, that's the thing.      I couldn't

          6    tell.   I looked at their paperwork and they asked for --

09:03     7                THE COURT:    Well, why don't you ask them.

09:03     8                MR. DAILEY:    The sale's already occurred.

09:03     9                THE COURT:    Okay.

09:03    10                MR. DAILEY:    So their TRO asked for, um -- a TRO

         11    to prevent eviction, prevent sale of the property, but they

         12    don't --

09:03    13                THE COURT:    Just a moment.

09:03    14                           INQUIRY BY THE COURT

09:03    15                THE COURT:    Is your client still in the house,

         16    Counsel?

09:03    17                MR. SNYDER:    No, she's not in the house,

         18    Your Honor.

09:03    19                THE COURT:    So counsel raises a good point.       You

         20    may have merit concerning the damages that you may have

         21    accruing -- I don't know yet -- especially if there's fraud

         22    here.   But if she's not in the house and the sale's

         23    occurred, I have a hard time understanding why you're here

         24    on a temporary restraining order.

09:04    25                I can understand the merits of this eventually, if


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                             8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
                                                                                7


          1    we get to the merits.      I have a hard time understanding a

          2    TRO.

09:04     3                MR. SNYDER:    Well, the reason why she's not in the

          4    house, Your Honor -- there was a, um -- there was a -- what

          5    we considered an unlawful foreclosure sale.

09:04     6                THE COURT:    No.   I understand that.

09:04     7                Has the house been sold, though?

09:04     8                MR. SNYDER:    It was sold -- it was taken back by

          9    the foreclosing party.

09:04    10                THE COURT:    Okay.

09:04    11                MR. SNYDER:    So it has been sold --

09:04    12            (Court reporter requests clarification for the

         13         record.)

09:04    14                MR. SNYDER:    Has not been sold to a third party.

09:04    15                We're concerned that the plaintiff -- excuse me --

         16    the defendant is going to run out and sell it to a third

         17    party to try and interject a bona fide purchaser.

09:04    18                My client has been in this property for -- since

         19    2007.   That was her home.      Her belongings are there.      She

         20    was forced out of the property and has been -- is required

         21    to live, um, on the generosity of friends, um, putting her

         22    up, and her -- and her minor child, a 13-year-old girl.

09:05    23                It -- the exigent circumstances is that -- that

         24    she doesn't have a house.       And this house is sitting empty

         25    and, um, so the -- um, the harm -- the relative harm weighs


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        Case 8:17-cv-01386-DOC-KES Document 30 Filed 11/20/17 Page 8 of 16 Page ID #:931
                             8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
                                                                                8


          1    dramatically in my client's favor.

09:05     2                The bank has the house --

09:05     3                THE COURT:    I don't know what you're asking for.

          4    So let me just ask you a couple questions.         Okay?

09:05     5                On October 10th, defendants filed a Motion to

          6    Dismiss and a Motion to Strike, which are Dockets 14 and 15.

09:05     7                And on October 30th, plaintiff, you filed

          8    opposition in which you concede that many of the claims in

          9    the First Amended Complaint failed to meet the pleading

         10    standard for stating a claim.       And I think we both agree

         11    about that.

09:05    12                Thus, my first question would be, on what

         13    remaining theory of relief are you seeking this TRO?           And

         14    we're going around that issue, apparently.

09:06    15                Second, you're claiming that because the

         16    fraudulent conveyances occurred, neither plaintiff nor the

         17    lender has any interest in the property.

09:06    18                Well, if that's the case, how do you have standing

         19    to bring claims that require your client to be the owner of

         20    the property?     And have you produced a true Grant Deed --

         21    which I've never received -- or delivered in any of your

         22    papers?

09:06    23                For the defendants, I have a very practical

         24    concern; and that is, since plaintiff filed the First

         25    Amended Complaint, pro se, before she retained counsel, it


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        Case 8:17-cv-01386-DOC-KES Document 30 Filed 11/20/17 Page 9 of 16 Page ID #:932
                             8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
                                                                                9


          1    put her in a difficult position.        And even if plaintiff's

          2    counsel has conceded that the First Amended Complaint is

          3    very poorly pled, it is missing required facts.          It is, by

          4    and large, not pled with the particularity that's required.

          5    So it's difficult to determine exactly the merits or

          6    demerits of the causes of action.        And at times remedies are

          7    pled as causes of action.

09:07     8                So one thing that you might consider, just to save

          9    your client a lot of time, is potentially stipulating to

         10    allow plaintiff's counsel to file a Second Amended

         11    Complaint, mooting the instant Motion to Dismiss, in order

         12    to save your resources -- on both parties -- and the Court's

         13    resources.

09:07    14                Otherwise, what I would have to do is I'd have to

         15    wade through the First Amended Complaint and attempt to

         16    parse plaintiff's claims in order to rule on defendant's

         17    motion.    Yet, at the end of this rather time-consuming

         18    process, and a costly process for both of you, if I decided

         19    that dismissal was warranted, I would almost certainly give

         20    plaintiff's counsel and plaintiff leave to amend anyway.             In

         21    other words, you're coming right back here.

09:07    22                So, thus stipulating to a Second Amended Complaint

         23    would save everyone time.       I mean, it would save a lot of

         24    resources.    So I'm kind of somewhat encouraging that to

         25    speed this along.     Right now this TRO does not seem


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        Case 8:17-cv-01386-DOC-KES Document 30 Filed 11/20/17 Page 10 of 16 Page ID #:933
                              8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
                                                                               10


           1    appropriate.    This seems to be compensable, quite frankly.

           2    This seems to be something that could be recovered,

           3    especially in terms of fraud.       And this would give you a

           4    time to look into this affidavit signed by this person.

09:08      5               So why don't you two talk for just a moment.

           6    Sometimes wisdom prevails and sometimes it doesn't.          And if

           7    it doesn't, I'll resolve this matter quickly.         That means,

           8    Counsel, get up out of your seat.

09:08      9               Counsel, talk to your other counsel.         That's an

          10    order.   That's not a request now.

09:08     11               MR. SNYDER:    Yes, Your Honor.

09:08     12               MR. DAILEY:    Would you like us to go in the hall

          13    now, Your Honor?

09:08     14               THE COURT:    Yeah.   Go talk quickly now.

09:08     15               Trying to save your client some money, frankly --

          16    both of you.

09:08     17               PLAINTIFF POWERS:     Thank you so much.

09:08     18          (Pause in the proceedings at 9:08 a.m.)

09:10     19          (Proceedings resumed at 9:10 a.m.)

09:10     20               THE COURT:    Counsel, your thoughts and wisdom?

09:10     21               MR. DAILEY:    Your Honor, we're amenable to

          22    stipulating to a Second Amended Complaint.

09:10     23               THE COURT:    I think that would be wise.       It'll

          24    save a lot of time and effort and expense on both of your

          25    parts.   Let's -- I'm going to note that a stipulation is


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        Case 8:17-cv-01386-DOC-KES Document 30 Filed 11/20/17 Page 11 of 16 Page ID #:934
                              8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
                                                                                11


           1    entered as to a Second Amended Complaint.         And we're going

           2    to get rid of this Motion to Dismiss at the time.

09:10      3               It's very poorly written, frankly.        I'm glad

           4    you've got a lawyer.     This would've been kicked out --

09:10      5               PLAINTIFF POWERS:     Yes, I'm --

09:10      6               THE COURT:    I'm not speaking to you now.        I'm

           7    speaking to counsel, and you're listening.

09:11      8               What disturbs me the most is, if these allegations

           9    of fraud are not appropriate, be careful with this Court.

          10    But if they are, you've just met a sledgehammer.

09:11     11               MR. DAILEY:    Your Honor --

09:11     12               THE COURT:    No, no.    I'm speaking.    You're

          13    listening now.    You're listening to me.      You've met a

          14    sledgehammer.    I will come down on these parties like you

          15    haven't seen, including recommending a criminal indictment.

09:11     16               That will give you two time to talk this through.

          17    It'll give you time to look at this see if this has any

          18    substance.    If it's meritless, maybe you can work out a

          19    resolution quickly and avoid me.       If it does have merit,

          20    then I'm encouraging you to proceed forward.         Okay?

09:11     21               So I look forward to your Second Amended

          22    Complaint.    When would that be filed, counsel?

09:11     23               MR. SNYDER:    May I?

09:11     24               THE COURT:    Give time -- give yourself enough time

          25    also to just discuss the matter of whether this alleged


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        Case 8:17-cv-01386-DOC-KES Document 30 Filed 11/20/17 Page 12 of 16 Page ID #:935
                              8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
                                                                               12


           1    fraud is meritorious.     In other words, it doesn't have to be

           2    filed within two weeks.      I want to give you time to sort

           3    this out before I do.     Okay?

09:12      4               So give me a time on your schedule.        That means

           5    talk to your opposing counsel.       He's right over there.

09:12      6               MR. DAILEY:    Yeah.    Whenever you can file it, it's

           7    fine with me.

09:12      8               MR. SNYDER:    Four weeks?

09:12      9               MR. DAILEY:    Four weeks is fine.

09:12     10               THE COURT:    Well, you need time also, don't you,

          11    to look at these documents?       In other words, before he files

          12    this, this may get easily resolved between the two of you

          13    very quickly.

09:12     14               But let me repeat:      If these are fraudulent

          15    documents, watch out.     Because this will go far beyond a

          16    civil matter.     I'll refer it over to the U.S. Attorney's

          17    Office.   Okay?

09:12     18               Just give me a date.      Quit looking at me and give

          19    me a date now, something convenient for you.         Normally,

          20    courts tell you a date.      I'm being courteous and asking you

          21    two to agree on a date.      That requires you to talk to him.

          22    Thank you.

09:12     23               MR. SNYDER:    Four weeks, Your Honor.

09:12     24               THE COURT:    Four weeks.    Okay.

09:12     25               Then let's take the date of --


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        Case 8:17-cv-01386-DOC-KES Document 30 Filed 11/20/17 Page 13 of 16 Page ID #:936
                              8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
                                                                               13


09:12      1               (To the clerk:) Deb, four weeks?

09:12      2               THE CLERK:    November 30th.

09:12      3               THE COURT:    November 30th, Counsel.

09:12      4               Well, that catches you right after the holiday.

           5    Give 'em another week.

09:13      6               THE CLERK:    December 7th.

09:13      7               THE COURT:    December 7th.     That way you've got

           8    more time.    It gives you more time to talk to each other and

           9    see if there's any merit concerning these fraud allegations

          10    or not, independently.      If there's not, then you should

          11    proceed, of course.     If there is, maybe you can resolve it

          12    quickly between the two of you and avoid me.

09:13     13               MR. DAILEY:    Your Honor, actually, could we do it

          14    December 14th?

09:13     15               THE COURT:    Absolutely.    December 14th.

09:13     16               MR. DAILEY:    We have -- we're gone.

09:13     17               THE COURT:    That's okay.     If you've got a vacation

          18    or another matter, there's no rush.

09:13     19               I just want some settlement discussions quietly

          20    between the two of you to see if you can reach a resolution.

          21    If you can't, that's fine.

09:13     22               But when these kinds of allegations are made, this

          23    isn't something that's just going to pass through the civil

          24    side.   Trust me.

09:13     25               Okay.    Thank you very much.


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        Case 8:17-cv-01386-DOC-KES Document 30 Filed 11/20/17 Page 14 of 16 Page ID #:937
                              8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
                                                                               14


09:13      1               MR. DAILEY:    Appreciate your time, Your Honor.

09:13      2               THE COURT:    My pleasure.

09:13      3               Sorry I'm so abrupt today, but I'm not gonna waste

           4    time with it.    We've got other matters now.

09:13      5               MR. DAILEY:    And just to be clear, the TRO is

           6    denied?

09:13      7               THE COURT:    Well, the TRO is withdrawn at this

           8    point, Counsel.    He's going to file.

09:14      9               Is that correct?

09:14     10               MR. SNYDER:    I'm going to file a Second Amended

          11    Complaint.

09:14     12               THE COURT:    Yeah.   You're going to withdraw the

          13    TRO on today's date; is that correct?

09:14     14               MR. SNYDER:    I would like to have my client

          15    restored the possession of the property.

09:14     16                            RULING OF THE COURT

09:14     17               THE COURT:    I'm gonna deny that at the present

          18    time.   This is compensable.

09:14     19               MR. SNYDER:    Yes, Your Honor.

09:14     20               THE COURT:    The property isn't in her possession

          21    right now.    There's no further harm.      I'm going to deny your

          22    TRO.    Now, you can bring that back to me.       Okay?   The door's

          23    not closed.    But at this time, I don't see anything here

          24    that isn't compensable by money.

09:14     25               Thank you very much, Counsel.


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        Case 8:17-cv-01386-DOC-KES Document 30 Filed 11/20/17 Page 15 of 16 Page ID #:938
                              8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
                                                                               15


09:14      1               MR. DAILEY:    Thank you for your time, Your Honor.

09:14      2               THE COURT:    Thank you.

09:14      3          (Proceedings adjourned at 9:14 a.m.)

09:14      4                                    -oOo-

09:14      5

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        Case 8:17-cv-01386-DOC-KES Document 30 Filed 11/20/17 Page 16 of 16 Page ID #:939
                              8:17-CV-1397-DOC - 11/2/2017 - Item No. 3
                                                                               16


09:14      1                                    -oOo-

09:14      2

09:14      3                                CERTIFICATE

09:14      4

09:14      5               I hereby certify that pursuant to Section 753,

           6    Title 28, United States Code, the foregoing is a true and

           7    correct transcript of the stenographically reported

           8    proceedings held in the above-entitled matter and that the

           9    transcript page format is in conformance with the

          10    regulations of the Judicial Conference of the United States.

09:14     11

09:14     12    Date:   November 18, 2017

09:14     13

09:14     14
09:14                                     /s/ Debbie Gale
09:14     15                             _________________________________
09:14                                    DEBBIE GALE, U.S. COURT REPORTER
09:14     16                             CSR NO. 9472, RPR, CCRR

09:14     17

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